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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
                               www.flmb.uscourts.gov

In re:

R&R INDUSTRIES, INC.,                                Case No. 6:21-bk-01050-LVV
                                                     Chapter 11 Subchapter V

            Debtor.
_________________________________/

            EMERGENCY MOTION OF DEBTOR SEEKING APPROVAL OF
              INSURANCE PREMIUM FINANCING AGREEMENT WITH
          AFCO CREDIT CORP. AND REQUEST FOR EMERGENCY HEARING

         The Debtor, R&R INDUSTRIES, INC. ( “the Debtor” or “R&R”), files this, its

Emergency Motion Seeking Approval of Insurance Financing with AFCO Credit Corporation

(“AFCO”) (“the Insurance Premium Financing Agreement”) and Request for Emergency

Hearing (“the Motion”), pursuant to Sections 105, 361, 362, 363 and 364 of the U.S. Bankruptcy

Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”), and Rules 2002, 4001, 6003, 6004 and

9014, Federal Rules of Bankruptcy Procedure, (the “Motion”), as follows:

                                            Jurisdiction

         1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding over which this Court has jurisdiction pursuant to 28 U.S.C. § 157(b).

         2.      The Debtor continues to operate as a debtor-in-possession pursuant to §§ 1107

and 1108 of the Bankruptcy Code and this Court’s order authorizing it to continue doing business

as a debtor-in-possession.
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                                       Factual Background

       3.      On March 11, 2021 (the “Petition Date”), the Debtor filed a petition for relief

under Chapter 11, Subchapter V of the Bankruptcy Code. The Debtor is authorized to continue to

operate its business as debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. Jerrett McConnell is the Subchapter V Trustee appointed to this case.

       4.      R&R is a Florida S corporation and was incorporated in 1964. R&R specializes

in the installation of roofing, heating, air conditioning and ventilation systems for commercial,

industrial and residential properties, and has been serving the Daytona Beach area for over 55

years. R&R is located at 500 Carswell Avenue, Florida 32117. Guy Beasley is the principal and

sole shareholder of the Debtor. The Debtor derives all its operating revenue from its operation of

R&R.

       5.      The Debtor maintains two insurance policies which provide the type of insurance

coverage required of Florida roofing companies: (i) a policy with United Specialty Insurance,

Inc. for general liability, with an annual premium of $201,494; and (ii) a policy with Commerce

& Industry Insurance Company for extra liability with an annual premium of $89,100

(collectively, “the Insurance Policies” and “the Insurance Premiums”).

       6.      The Insurance Premium Financing Agreement would provide the Debtor with the

total sum of $225,639.36 for payment of the Insurance Premiums. A copy of the term sheet

setting forth proposed agreement between the Debtor and AFCO is attached hereto as Exhibit

“A.”

       7.      This Chapter 11 filing was necessitated by accumulated debt and aggressive

creditor activity brought about as a direct result of the Pandemic, and the negative effect this

catastrophic event had on the local construction industry generally, and on R&R specifically. It


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was anticipated upon filing that the Chapter 11 case would result in a confirmed plan allowing

R&R to restructure its debt on terms the business can bear through continued operations.

        8.       The Debtor remains confident that its projected business revenues from going

forward operations will allow it to emerge successfully from Chapter 11, with prepetition debt

being paid in full. The Debtor is experiencing, however, a short-term cash shortfall due to

conditions unique to the building and construction industry at this time. Accordingly, the Debtor

has sought DIP financing to enable it to successfully navigate Chapter 11 and restructure and pay

its prepetition debt in full.

        9.       Moreover, the Debtor seeks approval of this Motion in order to have funds

advanced to enable the Debtor to remain current on the Insurance Policies. The Insurance

Policies are required for the Debtor to meet its licensing and bonding requirements as a condition

of doing commercial and residential roofing business.

        10.      The Debtor has attempted to obtain alternative financing but has been unable to

do so within the time constraints to allow this case to move forward. In fact, financing the

Insurance Premiums through AFCO is the most efficient and least expensive means for the

Debtor to remain current on the Insurance Policies.

        11.      Without approval of the Insurance Premium Financing Agreement, the Debtor’s

ability to maintain uninterrupted insurance coverage will be at risk, which in turn may render the

Debtor unable to continue business operations and risk conversion or dismissal of this case.

Conversely, with the subject financing on the terms set forth herein, the Debtor expects to

continue unfettered operations and to successfully complete a Plan of Reorganization calling for

repayment of 100% of prepetition claims.




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        12.       The Debtor and AFCO agreed upon the terms and conditions of the subject

Insurance Premium Financing Agreement, with those terms being set forth below and in attached

Exhibit “A.”

                       Bankruptcy Rule 4001 Summary Of Relief Requested

        13.       Pursuant to Bankruptcy Rule 4001(c)(1)(B), a concise statement of material

provisions of the proposed Insurance Premium Financing Agreement and form of Interim Order

are as follows:

        A.        Interest Rate: The Debtor shall pay interest at the rate of 8.25% A.P.R.

        B.        Maturity: The subject loan will be repaid in 8 monthly installments of $28,204.92

each.

        C.        Events of Default: the failure of the Debtor to make a monthly payment when

due, followed by the expiration of a 10-day grace period will result in the declaration of a default.

        D.      Grant of Security Interest. The Debtor agrees to grant AFCO a security interest in

any and all unearned premiums and dividends which may become payable under the Insurance

Policies which reduce the unearned premiums, subject to any loss payee interest.

                                     Basis for Relief Requested

        A. The Critical Need for the Insurance Financing Loan

        14.       The Debtor is in immediate need of the subject funds to enable the Debtor to

maintain insurance coverage under the Insurance Policies.

        15.       Section 364 of the Bankruptcy Code allows a debtor to: (a) obtain unsecured

credit in the ordinary course of business, (b) obtain unsecured credit out of the ordinary course of

business, and (c) obtain credit with specialized priority or with security. If a debtor-in-

possession cannot obtain post-petition credit on an unsecured basis, a bankruptcy court may


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authorize the obtaining of credit or the incurring of debt, the repayment of which is entitled to

superpriority administrative expense status or is secured by a lien on unencumbered property, or

combination of the foregoing.

       16.      Section 364(d)(1) of the Bankruptcy Code provides that a court may authorize a

debtor to incur post-petition debt on a senior or “priming” basis if: (a) the Debtor is unable to

obtain credit otherwise and (b) there is “adequate protection” of the interest of the holder of the

lien on the property of the estate on which such senior or equal lien is proposed to be granted.

See 11 U.S.C. § 364(d)(1).

       17.      As noted above, the need for the Debtor to obtain insurance premium financing is

critical. Further, the evidence at a hearing will show that a working capital facility of the type

needed in this Chapter 11 case could not have been obtained on any other basis.

       B. The Debtors’ Lack of Alternative Financing.

       18.      It is well recognized that the appropriateness of a proposed post-petition financing

facility must be considered in light of the current market conditions. See In re Lyondell Chem.

Co., No. 09-10023 (Bankr.S.D.N.Y. 2009). Indeed, courts often recognize that where there are

few lenders likely able and willing to extend the necessary credit to a debtor, “it would be

unrealistic and unnecessary to require [a debtor] to conduct such an exhaustive search for

financing.” See In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr.N.D.Ga. 1988). Rather, a

debtor must demonstrate that it made a reasonable effort to seek credit from other sources

available under Section 364(a) and (b). See In re Plabell Rubber Prods. Inc., 137 B.R. 897,

899900 (Bankr.N.D.Ohio 1992). The evidence will show that the Debtor has made reasonable

efforts to seek credit from other sources.




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                                              Summary

       19.      This Motion seeks authorization and approval of the Insurance Premium

Financing Loan from AFCO to the Debtor on the terms and conditions contained in the term

sheet attached hereto and incorporated herein as Exhibit “A.”

       20.      Through the Insurance Premium Financing Agreement, AFCO agrees to make a

loan to Debtor in the aggregate amount of $225,639.36 (“the Loan Proceeds”), to be used as

premium payments for the Insurance Policies.

                      Certification of Necessity of Request for Expedited Hearing

       21.      I hereby certify, as a member of the Bar of the Court, that I have carefully

examined the matter under consideration and to the best of my knowledge, information and

belief formed after reasonable inquiry, all allegations are well grounded in fact and all

contentions are warranted by existing law or a good faith argument for the extension,

modification, or reversal of existing law can be made, that the matter under consideration is not

interposed for any improper purpose, such as to harass, to cause delay, or to increase the cost of

litigation, and there is just cause to request a consideration of this Motion on an emergency basis.

       22.      I certify further that there is a true necessity for an expedited hearing, specifically,

that the requested relief of authorizing the Debtor to obtain insurance premium financing is

necessary to ensure that the Debtor can continue its operations.

       23.      I certify further that the necessity of this expedited hearing has not been caused by

a lack of due diligence on my part but has been brought about only by circumstances beyond my

control or that of my clients. I further certify that this motion is filed with full understanding of F.

R. B. P. 9011 and the consequences of noncompliance with same.


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       WHEREFORE, for the foregoing reasons, Debtor, R&R INDUSTRIES, INC.

respectfully requests that this Court enter an Order granting this Motion; authorizing Insurance

Premium Financing on the terms contained herein; and for any and such other and further relief

as this Court deems just and equitable.




                                                     Respectfully Submitted,

                                                     /s/ Scott W. Spradley
                                                     Scott W. Spradley
                                                     Florida Bar No.: 782467
                                                     Law Offices of
                                                     Scott W. Spradley, P.A.
                                                     109 South 5th Street
                                                     P.O. Box 1
                                                     Flagler Beach, FL 32136
                                                     Tel: 386/693-4935
                                                     Fax: 386/693-4937
                                                     scott@flaglerbeachlaw.com
                                                     Attorneys for the Debtor




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                          CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on August 2, 2021, all interested parties were served by first
class, U.S. mail, postage prepaid, or by electronic mail, including the following:

United States Trustee-ORL 11,
George C. Young Federal Building
400 W. Washington St., Suite 1100
Orlando, FL 32801
Email: USTP.Region21.OR.ECF@usdoj.gov




                                         /s/ Scott W. Spradley
                                         Scott W. Spradley




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